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AO 106 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT Co
                                                                      for the
                                                         Southern District of California

              In the Matter of the Search of
         (Briefly describe the property to be searched
                                                                UllSEllLE~PER ORDtll Of COURT
          or identifY the person by name and addrkss)                   )           Case No.

                                                                        ~
   552 Hamilton Avenue, El Centro, California, 92243
                                                                        )

                                            APPLICATION FOR A SEARCH WARRANT                              18MJ5527
                                   '
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identifj; the person or describe the
property to be searched and give its location):

  See Attachment A, incorporated herein by reference
located in the              Southern              District of               California          , there is now concealed (identifj; the
                     ~------~                                   ~----------~


person or describe the property to be seized):
 See Attachment B, Incorporated herein by reference


          The basis forthe search under Fed. R. Crim. P. 4J(c) is (check one or more):
                   r'1f evidence of a crime;
                   ri contraband, fruits of crime, or other items illegally possessed;
                   ~property designed for use, intended for use, or used in committing a crime;
                   0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                            Offense Description
        8 USC Section 1324                        Alien Smuggling


         The application is based on these facts:
        See Attached affidavit of TFO Emmanuel Ortega, Homeland Security Investigations


          ri Continued on the attached sheet.
          0 Delayed notice of _ _ days (give exact ending date if more than 30 days: - - - - - ) is requested
            under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                           ~~ature
                                                                                     Emmanuel Ortega, HSI Task Force Officer
                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date:
                                                                                         (µ(£__ c-s. _
               I       I                                                                         Judge's signature

City and state:       s;:_, tJL(5 O~,                                              Hon. William V. Gallo, U.S. Magistrate Judge
                                                                                               Printed name and title




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  1                                        AFFIDAVIT
 2         I, Emmanuel Ortega, being duly sworn, declare and state as follows:
 3                                   Experience and Training
 4         1.     I am a United States Border Patrol Agent-Intelligence officer (a "BPA-I")
 5 within the United States Department of Homeland Security, Customs and Border
 6 Protection, United States Border Patrol (the "USBP"). I have been employed by USBP
 7 since June of2009.
 8         2.     I am currently assigned as a Task Force Officer with Homeland Security
 9 Investigations Marine Task Force.
10         3.     I am a graduate of the United States Border Patrol Academy at the Federal
11 Law Enforcement Training Center in Artesia, New Mexico. I have received training in
12 investigating alien smuggling activity, identifying immigration violations, and enforcing
13 numerous immigration and customs laws within the United States. I am also cross
14 designated to conduct investigations of violations of Title 21 of the United States Code.
15         4.    I am currently assigned to conduct investigations of criminal violations
16 relating to alien smuggling and narcotics smuggling. I have participated in numerous alien
17 smuggling-related investigations, many of which involved the arrests of persons for alien
18 smuggling offenses. In those cases, I conducted interviews with the arrested persons and
19 with their associates. Through these interviews, I have gained a working knowledge and
20 insight into the activities and operations of alien smugglers.
21         5.    During the course of my employment with USBP, I have participated in a
22 number of investigations, including investigations that have resulted in criminal
23 prosecutions. Aditionally I have made arrests; drafted affidavits for search and seizure
24 warrants, arrest warrants, tracking warrants; prepared reports in state and federal
25 proceedings; and provided sworn statements in state and federal proceedings.
26         6.    Through my training, experience, and discussions with other experienced
27 criminal investigators, I have become familiar with the behavior, speech, routes, and
28 methods of operation of criminal organizations. I have also completed an assignment as a
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 1 Task Force Officer with HSI and am currently assigned to the Marine Task Force. This
 2 assignment continued to allow me to experience investigations through the various facets
 3 of ongoing criminal investigations.
 4                                     Purpose of Affidavit
 5         7.    This affidavit is made in support of an application for a warrant to search the
 6 entire property located at 552 Hamilton Street, El Centro, California 92243, within the
 7 Southern District of California, as described more fully in Attachment A (hereinafter the
 8 "SUBJECT PREMISES"), for items constituting evidence, fruits, and instrumentalities of
 9 violations of Federal laws, namely, Title 8, United States Code, Section 1324 (alien
1O smuggling), as further described in Attachment B.
11         8.    Based on the facts contained in this affidavit and my training and experience,
12 I believe there is probable cause to conclude that located at the SUBJECT PREMISES, as
13 described in Attachment A, are evidence, fruits, and/or instrumentalities of the
14 aforementioned crimes, as described in Attachment B.
15         9.    The facts set forth in this affidavit are based on knowledge obtained from
16 other individuals participating in this investigation (including other law enforcement
17 officers), communications with others who have personal knowledge of the events and
18 circumstances described herein, and information gained through my training and
19 experience. Because this affidavit is submitted for the limited purpose of establishing
20 probable cause in support of the application for a search warrant, it does not set forth each
21 and every fact that I or others have learned during the course of this investigation.
22                                       Probable Cause
23         10.   On October 18, 2018, at approximately 10:00 a.m., BPA-1 officers (the
24 "Investigators") assigned to the El Centro Sector Intelligence Unit observed a Saturn Vue
25 Sports Utility Vehicle (the "SATURN") parked at the "Double AA" parking lots in
26 Calexico, California. From my training and experience, I am aware that this parking lot is
27 a location where alien smugglers temporarily park cars that are then used to transport illegal
28 aliens from the border area to "stash houses," or to other cities outside of Imperial County.
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 1 I also know that people involved in alien smuggling will use this area instead of driving
 2 the smuggling cars into Mexico, thereby avoiding record-keeping that associates the cars
 3 with cross-border activity.
 4         11.    Investigators began surveillance of the SATURN and watched it travel from
 5 the noted parking lot to various roads on the outskirts of Calexico. The investigators
 6 followed the SATURN on various roads that are approximately one mile north of the
 7 United States I Mexico International Border. At approximately 1:00 p.m., Agents lost sight
 8 of the SATURN and ended surveillance.
 9         12.    On October 19, 2018, at approximately 8:45 a.m., investigaors again saw the
10 SATURN, now traveling westbound on Interstate 98, west of Weed Road.                       This
11 intersection is located approximately one mile north of the fence demarcating the
12 international border. I understand from colleagues that that this is an area often used by
13 alien smugglers to pick up illegal aliens that have just crossed into the United States.
14         13.    At approximately 8:55 a.m., the investigators lost sight of the SATURN near
15 the intersection of Interstate 98 and Clark Street.       Based on the location where the
16 investigators last saw this car, they drove north to El Centro, California to try to relocate
17 it. The investigators drove towards El Centro because, as I am aware from my experience,
18 alien smugglers use homes in El Centro (and elsewhere) - commonly known as "stash
19 houses" - to hold illegal aliens before the aliens travel to other parts of the United States.
20         14.   At approximately 9:15 a.m., investigators again saw the SATURN, now
21 parked in the parking lot of the El Centro Regional Medical Hospital. The investigators
22 maintained surveillance and saw what appeared to be three or four passengers inside it. At
23 approximately 9:30 a.m., investigators also saw a Black Chrysler 300 (the "CHRYSLER")
24 bearing California License Plate 6YYF792, park next to the SATURN. Investigators saw
25 three people get out of the SATURN, and get into the CHRYSLER. At approximately 9:35
26 a.m., investigators saw the CHRYSLER leave the parking lot of the hospital and followed
27 it over various streets in El Centro.
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 1         15.    From my training and experience, I know that subjects involved in alien
 2 smuggling will have one car pick up illegal aliens from the border area and then drive to
 3 another location to transfer the illegal aliens to another car. Alien smuggliers use this tactic
 4 to limit the amount of information about the smuggling activity that any one participant
 5 knows about the overall operation. The pattern of activity described in this affidavit is
 6 consistent with this kind of behavior.
 7         16.   At approximately 10:10 a.m., investigators following the vehicle saw the
 8 CHRYSLER park in the driveway of the SUBJECT PREMISES. The driver of the
 9 CHRYSLER, later identified as Karla QUINTERO, tried to to get out of the vehicle; when
1O that happened, investigators approached her and identified themselves.             They asked
11 QUINTERO if she was transporting illegal aliens, but she did not answer. Investigators
12 also saw three people sitting in the back seat of the CHRYSLER, trying to avoid eye contact
13 and keeping their heads down. Investigators asked these passengers if they were in the
14 United States legally; the three people, later identified as Victor Hugo Morales, Lizeth
15 Alejandra Lopez, and Bertha Cruz, admitted that they did not have any documents granting
16 them status or permission to be in the United States, and admitted they were illegally
17 present in the United States.
18         17.   At approximately 10:15 a.m., investigators placed QUINTERO, Morales,
19 Lopez, and Cruz under arrest. Contemporaneously, investigators saw another person near
20 the door of the SUBJECT PREMISES. Investigators instructed the individual to come
21 towards them, but the individual ignored the investigators' commands and went into the
22 SUBJECT PREMISES.
23         18.   Based on the fact that they had just arrested QUINTERO on suspicion of alien
24 smuggling after she parked the CHRYSLER containing three illegal aliens in the driveway
25 of the SUBJECT PREMISES, investigators suspected that the SUBJECT PREMISES was
26 being used as a stash house and feared that the individual who entered the SUBJECT
27 PREMISES might try to destroy evidence of ongoing illegal activity. Therefore,
28 investigators pursued the individual into the SUBJECT PREMISES, conducted a
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  1 protective sweep, and secured the entire property to allow investigators to seek issuance of
 2 the requested warrant. 1
 3         19.   Following the sweep of the SUBJECT PREMISES, Morales, Lopez, and Cruz
 4 admitted that they had recently crossed into the United States illegally, and that they were
 5 going to pay $8,000 to be smuggled to Los Angeles, California. Investigators also learned
 6 that these individuals had been instructed by QUINTERO-the driver of the
 7 CHRYSLER-to get out of the CHRYSLER individually and enter the SUBJECT
 8 PREMISES.
 9         20.   Given that investigators found three illegal aliens in the CHRYSLER who
1O were about to enter the SUBJECT PREMISES, the other facts in this affidavit, and based
11 on my training and experience, I submit that there is probable cause to believe the
12 SUBJECT PREMISES is a "stash house" being used in connection with alien smuggling
13 and that there is probable cause to search the SUBJECT PREMISES, as further described
14 in Attachment A, for the items described in Attachment B.
15                      Basis for Evidence Sought in Search Warrant
16         21.   Based upon my knowledge, experience, and training in human smuggling
17 investigations and the training and experience of other law enforcement officers with
18 whom I have had discussions, there are certain characteristics common to individuals
19 involved in human smuggling that occurs in furtherance of the criminal activity. I discuss
20 these characteristics below:
21               a.    I am aware that individuals involved in human smuggling often
22 maintain ledgers and other documents, in both physical and electronic format, such as
23 correspondence, notes, appointment books, address books, telephone lists, Rolodexes, and
24 telephone books, containing information regarding or relating to illegal aliens and their
25 identities, and names of associates and/or arrangers involved in the smuggling of illegal
26
27 1
        Investigators did not seize any items while in the SUBJECT PREMISES, and in an
28 abundance or caution, nothing tliat investigators observed while in the SUBJECT
   PREMISES is included in this affidavit.
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 1 aliens within the United States, including but not limited to, the names of illegal aliens, the
 2 illegal alien's destinations within the United States and/or fees paid or to be paid for illegal
 3 aliens to be brought into or transported or harbored within the United States;
 4                b.     I am aware that individuals involved in human smuggling commonly
 5 earn income in the form of cash and often keep and maintain large amounts of bulk United
 6 States currency at their residences and load houses. Such funds are often used for everyday
 7 expenses and to maintain and finance their ongoing criminal activity.
 8                c.     I am aware that individuals involved in human smuggling commonly
 9 maintain non-cash assets, such as negotiable instruments, stored value cards (prepaid
10 telephone cards, retail "gift cards," and prepaid "check cards," for example), bank and
11 business checks, money orders, traveler's checks, promissory notes, and cashier's checks,
12 that are evidence of payments made or cash earned in conjunction with the bringing of
13 illegal aliens into the United States and/or transportation of illegal aliens within the United
14 States;
15                d.     I am aware that individuals involved in human smuggling commonly
16 maintain financial records, such as credit card statements, canceled checks, deposit slips,
17 orders for or receipts of money transfer by wire, checking and savings books, loan
18 statements, tax returns, accounting records, investment or other similar documents,
19 receipts, business records, money drafts passbooks, and other records of income and
20 expenditure that are evidence of payments made or cash earned in conjunction with the
21 bringing of illegal aliens into the United States and/or transportation of illegal aliens within
22 the United States.
23                e.    I am aware that individuals involved in human smuggling commonly
24 attempt to legitimize their profits earned from human smuggling activities. Individuals
25 involved in human smuggling often amass and maintain assets at their residences and load
26 houses which were purchased with the proceeds earned from such human smuggling.
27 Individuals involved in human smuggling also attempt to secrete, transfer, and conceal the
28 money by means, including, but not limited to: placing assets in names other than their own
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  1 to avoid detection while maintaining control; laundering the money through what appears
 2 to be legitimate businesses; hiding money in their homes, safes, and safety deposit boxes;
 3 smuggling money from the United States to a place outside thereof; or using the money to
 4 buy assets which are difficult to trace. Records of these and other types of transactions are
 5 often found at the residences and load houses of individuals involved in human smuggling.
 6 While this investigation has not revealed the existence of storage lockers or safety deposit
 7 boxes, if during the search we discover evidence of the existence of a storage locker or
 8 safety deposit box, we request permission to seize and search it;
 9                f.     I am aware that individuals involved in human smuggling maintain
1O documents showing possession, dominion, and/or control of premises used as load houses,
11 including utility statements, telephone statements, deeds of trust, loan documents,
12 mortgage documents, correspondence and rental agreements relating to the location to be
13 searched;
14                g.    I am aware that individuals involved in human smuggling maintain
15 personal identification documents that could include fraudu1ent, counterfeit, and/or altered
16 documents used for illegal aliens who pose as imposters; more specifically, California
17 Department of Motor Vehicle licenses and identification cards, domestic and foreign birth
18 certificates, domestic and foreign passports and visas, including U.S. Passport Cards, Alien
19 Registration Receipt Cards, Temporary Resident Cards, Employment Authorization Cards,
20 Border Crossing Cards, Immigration Visas including I-55ls (aka "Green Cards"), Social
21   Security Administration Cards, other false registration documents or cards, and other false
22 and official documents letters, or writing made to appear to have been created or issued by
23 the United States Government or other official entities;
24                h.    I am aware that individuals involved in human smuggling maintain
25 travel documents and/or correspondence, both domestic and foreign, relating to human
26 smuggling arrangements and itineraries, including airline, hotel, or rental car records
27 relating to the travel of illegal aliens, or relating to their own personal travel paid for and
28 for the purpose of, or otherwise acquired by, proceeds of their human smuggling activities;
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  1               1.     I am aware that individuals involved in human smuggling maintain
  2 vehicle registrations of conveyances used to smuggle and transport illegal aliens.
  3 Individuals involved in human smuggling often drive vehicles that are registered in the
  4 names of other people or rental companies, or at alias addresses, and use these vehicles to
  5 transport illegal aliens and bulk United States currency;
  6               J.     I am aware that individuals involved in human smuggling maintain
  7 property of smuggled illegal aliens including, but not limited to, wallets, purses, suitcases,
  8 tote bags, clothing, and identification documents;
  9               k.     I am aware that it is common practice for alien smuggling organizations
 10 to use cellular telephones, two-way radios, and third-party smartphone applications to
 11 maintain communications with co-conspirators in furtherance of their criminal activities.
 12 Cellular telephones are essential for a Transnational Criminal Organization ("TCO"), as
 13 they are used to communicate between load drivers (i.e., people driving illegal aliens for
 14 smuggling purposes), foot guides, smuggled illegal aliens, and the leadership of the
 15 organization. For example, it is common for a load driver to receive a telephone call on his
 16 or her cellular telephone from a member of the organization, telling the load driver where
 17 and when he or she should pick up a group of aliens near the United States I Mexico border.
 18 Cellular telephones contain electronic data concerning telephonic contact, text messages,
 19 and electronic mail messages with co-conspirators, as well as telephone books containing
 20 contact information for co-conspirators. Members of the Target TCO also utilize cellular
 21 telephones with photograph and video capabilities to take photographs and videos of other
 22 members of the TCO, illegal aliens, money, and assets purchased with illicit proceeds;
 23               I.     I am aware that individuals involved in human smuggling use U.S. mail
 24 and private commercial delivery carriers to carry out transactions relating to alien
 25 smuggling;
 26               m.    I am aware that individuals involved in human smuggling take and
. 27 maintain photographs and videos of themselves and other members of the human
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  1 smuggling activities and of money and/or assets purchased or otherwise acquired with

 2 proceeds earned from human smuggling;
 3                n.     I am aware that individuals involved in human smuggling often have
 4 weapons, firearms, and ammunition in connection with the human smuggling activities,
 5 and keep weapons, firearms, and ammunition at stash houses; and
 6                o.     It is also my experience, opinion, and belief that the above-described
 7 documents and equipment are possessed by human smugglers much in the same way a
 8 legitimate business will maintain records, including tax returns and rel~ted documents, for
 9 an indefinite amount of time. These documents and equipment are kept by human
1O smugglers whether or not the smuggler is harboring or transporting illegal aliens at any
11 given moment.
12                      Procedures for Electronically Stored Information
13                 as to Any Computers and Other Electronic Storage Devices
14         22.    With the approval of the Court in signing this warrant, agents executing this
15 search warrant will employ the following procedures regarding computers and other
16 electronic storage devices (other than cellular telephones, which I describe separately),
17 including electronic storage media, that may contain data subject to seizure pursuant to this
18 warrant:
19                                        Forensic Imaging
20                a.    After securing the premises, or if sufficient information is available pre-
21   search to make the decision, the executing agents will determine the feasibility of obtaining
22 forensic images of electronic storage devices while onsite. A forensic image is an exact
23 physical copy of the hard drive or other media. A forensic image captures all the data on
24 the hard drive or other media without the data being viewed and without changing the data.
25 Absent unusual circumstances, it is essential that a forensic image be obtained prior to
26 conducting any search of the data for information subject to seizure pursuant to this
27 warrant. The feasibility decision will be based upon the number of devices, the nature of
28 the devices, the volume of data to be imaged, the need for and availability of computer
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 1 forensics specialists, the availability of the imaging tools required to suit the number and
 2 nature of devices found, and the security of the search team. The preference is to image
 3 onsite if it can be done in a reasonable amount of time and without jeopardizing the
 4 integrity of the· data and the agents' safety. The number and type of computers and other
 5 devices and the number, type, and size of hard drives are of critical importance. It can take
 6 several hours to image a single hard drive - the bigger the drive, the longer it takes. As
 7 additional devices and hard drives are added, the length of time that the agents must remain
 8 onsite can become dangerous and impractical.
 9               b.     If it is not feasible to image the data on-site, computers and other
1O electronic storage devices, including any necessary peripheral devices, will be transported
11 offsite for imaging. After verified images have been obtained, the owner of the devices will
12 be notified and the original devices returned within forty-five days of seizure absent further
13 application to this court for an extension of time.
14                         Identification and Extraction of Relevant Data
15               c.     After obtaining a forensic image, the data will be analyzed to identify
16 and extract data subject to seizure pursuant to this warrant. Analysis of the data following
17 the creation of the forensic image can be a highly technical process requiring specific
18 expertise, equipment and software. There are thousands of different hardware items and
19 software programs, and different versions of the same programs, that can be commercially
20 purchased, installed, and custom-configured on a user's computer system. Computers are
21 easily customized by their users. Even apparently identical computers in an office or home
22 environment can be different with respect to configuration, including permissions and
23 access rights, passwords, data storage, and security. It is not unusual for a computer
24 forensic examiner to have to obtain specialized hardware or software, and train with it, in
25 order to view and analyze imaged data.
26               d.     Analyzing the contents of a computer or other electronic storage device,
27 even without significant technical challenges, can be very challenging. Searching by
28 keywords, for example, often yields many thousands of hits, each of which must be
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 1 reviewed in its context by the examiner to determine whether the data is within the scope
 2 of the warrant. Merely finding a relevant hit does not end the review process for several
 3 reasons. The computer may have stored metadata and other information about a relevant
 4 electronic record - e.g., who created it, when and how it was created or downloaded or
 5 copied, when it was last accessed, when it was last modified, when it was last printed, and
 6 when it was deleted. Keyword searches may also fail to discover relevant electronic
 7 records, depending on how the records were created, stored, or used. For example,
 8 keywords search text, but many common electronic mail, database, and spreadsheet
 9 applications do not store data as searchable text. Instead, the data is saved in a proprietary
1O non-text format. Documents printed by the computer, even if the document was never
11 saved to the hard drive, are recoverable by forensic programs because the printed document
12 is stored as a graphic image. Graphic images, unlike text, are not subject to keyword
13 searches. Similarly, faxes sent to the computer are stored as graphic images and not as text.
14 In addition, a particular relevant piece of data does not exist in a vacuum. To determine
15 who created, modified, copied, downloaded, transferred, communicated about, deleted, or
16 printed the data requires a search of other events that occurred on the computer in the time
17 periods surrounding activity regarding the relevant data. Information about which user had
18 logged in, whether users share passwords, whether the computer was connected to other
19 computers or networks, and whether the user accessed or used other programs or services
20 in the time period surrounding events with the relevant data can help determine who was
21 sitting at the keyboard.
22               e.    It is often difficult or impossible to determine the identity of the person
23 using the computer when incriminating data has been created, modified, accessed, deleted,
24 printed, copied, uploaded, or downloaded solely by reviewing the incriminating data.
25 Computers generate substantial information about data and about users that generally is
26 not visible to users. Computer-generated data, including registry information, computer
27 logs, user profiles and passwords, web-browsing history, cookies and application and
28 operating system metadata, often provides evidence of who was using the computer at a
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  1 relevant time. In addition, evidence such as electronic mail, chat sessions, photographs and
 2 videos, calendars and address books stored on the computer may identify the user at a
 3 particular, relevant time. The manner in which the user has structured and named files, run
 4 or accessed particular applications, and created or accessed other, non-incriminating files
 5 or documents, may serve to identify a particular user. For example, if an incriminating
 6 document is found on the computer but attribution is an issue, other documents or files
 7 created around that same time may provide circumstantial evidence of the identity of the
 8 user that created the incriminating document.
 9               f.     Analyzing data has become increasingly time-consuming as the volume
1O of data stored on a typical computer system and available storage devices has become
11 mind-boggling. For example, a single megabyte of storage space is roughly equivalent of
12 500 double-spaced pages of text. A single gigabyte of storage space, or 1,000 megabytes,
13 is roughly equivalent of 500,000 double-spaced pages of text. Computer hard drives are
14 now being sold for personal computers capable of storing up to 2 terabytes (2,000
15 gigabytes) of data. And, this data maybe stored in a variety of formats or encrypted (several
16 new commercially available operating systems provide for automatic encryption of data
17 upon shutdown of the computer). The sheer volume of data also has extended the time that
18 it takes to analyze data. Running keyword searches takes longer and results in more hits
19 that must be individually examined for relevance. And, once reviewed, relevant data leads
20 to new keywords and new avenues for identifying data subject to seizure pursuant to the
21 warrant.
22               g.     Based on the foregoing, identifying and extracting data subject to
23 seizure pursuant to this warrant may require a range of data analysis techniques, including
24 hashing tools to identify data subject to seizure pursuant to this warrant, and to exclude
25 certain data from analysis, such as known operating system and application files. The
26 identification and extraction process, accordingly, may take weeks or months. The
27 personnel conducting the identification and extraction of data will complete the analysis
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  1 within one-hundred twenty (120) days of this warrant, absent further application to this
 2 court for an extension of time.
 3                h.     All forensic analysis of the imaged data will employ search protocols
 4 directed exclusively to the identification and extraction of data within the scope of this
 5 warrant.
 6     Procedures for Electronically Stored Information as to Any Cellular Telephones
 7         23.    It is not possible to determine, merely by knowing a cellular telephone's make,
 8 model and serial number, the nature and types of services to which such a device is
 9 subscribed and the nature of the data stored on the device. Cellular devices today can be
10 simple cellular telephones and text message devices, can include cameras, can serve as
11 personal digital assistants and have functions such as calendars and full address books and
12 can be mini-computers allowing for electronic mail services, web services and rudimentary
13 word processing. An increasing number of cellular service providers now allow for their
14 subscribers to access their device over the internet and remotely destroy all of the data
15 contained on the device. For that reason, the device may only be powered in a secure
16 environment or, if possible, started in "flight mode" which disables access to the network.
17 Unlike typical computers, many cellular telephones do not have hard drives or hard drive
18 equivalents and store information in volatile memory within the device or in memory cards
19 inserted into the device. Current technology provides some solutions for acquiring some of
20 the data stored in some cellular telephone models using forensic hardware and software.
21 Even if some of the stored information on the device may be acquired forensically, not all
22 of the data subject to seizure may be so acquired. For devices that are not subject to forensic
23 data acquisition or that have potentially relevant data stored that is not subject to such
24 acquisition, the examiner must inspect the device manually and record the process and the
25 results using digital photography. This process is time and labor intensive and may take
26 weeks or longer.
27         24.   Following the issuance of this warrant, law enforcement personnel will collect
28 the subject cellular telephone and subject it to analysis. All forensic analysis of the data
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 1 contained within the telephone and its memory cards will employ search protocols directed
 2 exclusively to the identification and extraction of data within the scope of this warrant.
 3         25.    Based on the foregoing, identifying and extracting data subject to seizure
 4 pursuant to this warrant may require a range of data analysis techniques, including manual
 5 review, and, consequently, may take weeks or months. The personnel conducting the
 6 identification and extraction of data will complete the analysis within ninety (90) days,
 7 absent further application to this court for an extension of time.
 8                            Genuine Risk of Destruction of Data
 9         28.   Based upon my experience and training, and the experience and training of
1O other Agents with whom I have communicated, it is not uncommon for technically
11 sophisticated criminals to use encryption, programs to destroy data that can be triggered
12 remotely or by a pre-programmed event or keystroke and sophisticated techniques to hide
13 data.
14                               Prior Attempts to Obtain Data
15         26.   The United States has not attempted to obtain this data by other means.
16                                     Request for Sealing
17         27.   It is respectfully requested that this Court issue an Order sealing, with
18 disclosure permitted to defendant's counsel pursuant to an early disclosure agreement or
19 Fed. R. Crim. Proc. 16 or until further order of this court, all papers submitted in support
20 of this Application, including the Application, Affidavit, Attachments and Search Warrant,
21 and the requisite inventory notice. Sealing is necessary because the items and information
22 to be seized are relevant to an ongoing investigation and premature disclosure of the
23 contents of this affidavit and related documents may have a negative impact on this
24 continuing investigation and may jeopardize its effectiveness. Specifically, I believe that
25 execution of this search warrant may yield information relevant to a broader practice of
26 alien smuggling, and believe that premature disclosure of this warrant could cause those
27 people to alter or destroy evidence, or cease or change their patterns of behavior.
28                                          Conclusion
                                               14
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 1         28.   Based on my training and experience, my review of reports, my discussions
 2 with other law enforcement officers, as well as all other facts discussed above, I
 3 respectfully submit that there is probable cause to believe that evidence, fruits, and
 4 instrumentalies of violations of 8 U.S.C. § 1324 may be located at the SUBJECT
 5 PREMISES, as further described in Attachment A. I, therefore, respectfully request that
 6 the attached warrant be issue authorizing the search of the location described in Attachment
 7 A and seizure of the items listed I Attachment B.
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14 SUBSCRIBED TO AND SWORN TO BEFORE
   ME THIS  /tf   DAY OF OCTOBER, 2018.
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18                                         HON. WILLIAM V. GALLO
                                           United States Magistrate Judge
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                                                          ATTACHMENT A

                                             LOCATION TO BE SEARCHED

                            552 Hamiton Street, El Centro, California 92243

 The location to be searched, defined as the "SUBJECT PREMISES" in the attached
 affidavit, is a detached one-story tan house with a brown roof. The house is located
 on the north side of Hamilton Street, and the driveway is accessible from Hamilton
 Street. The perimeter of the house is enclosed by a metal fence, which is light brown
 and stands about four feet high. The house has a brick path that extends from the
 street to the area by the front door; this brick path also has a section extending from
 the parking area, visible in the photos below.

 The house has a white metal screen door that faces Hamilton Street and opens
 outward. The screen door is hinged on the right with the door handles on the left
 side. The residence has the numbers "552" on the edge of the roof in line with the
 brick path and the white metal screen door, visible in the photos below .




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                               ATTACHMENT B

                                Items to Be Seized

1.    The items to be seized are evidence of alien smuggling, in violation of Title
8, United States Code, Section 1324, and conspiracy to commit the same:

      a.    Lists containing names of associates and arrangers involved in alien
            smuggling, bringing illegal aliens into the United States, harboring
            illegal aliens, and transporting illegal aliens within the United States;

      b.    Lists, ledgers, logs, records, and other documents concerning the
            number of aliens smuggled into the United States from a place outside
            thereof, the number of aliens harbored, the number of aliens
            transported within the United States, and the amount of money paid
            and received for such smuggling activities;

      c.    Financial records, bank records, check books, money orders, money
            order receipts, U.S. currency, and foreign currency that may be
            proceeds of alien smuggling activities;

      d.    Documents showing possession, dominion, and/or control of the
            Subject Premises (described in Attachment A), including but not
            limited to utility bills and statements, telephone records,
            correspondence, mail, rental or lease agreements, real estate deeds,
            and other documents related to the Subject Premises;

     e.     Property of smuggled aliens in the form of wallets, purses, suitcases,
            tote bags, clothing, identification documents, and entry documents,
            which constitute evidence of harboring and smuggling illegal aliens;

     f.     Travel documents and correspondence, both domestic and foreign and
            both real and counterfeit, relating to alien smuggling arrangements
            and itineraries;

     g.     Vehicle registration documents of vehicles used in the smuggling and
            transportation of illegal aliens;
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       h.    Passports and any United States Government documentation relating
             to the alienage of persons, both real and counterfeit;

       I.    Foreign passports and foreign identification documents relating to the
             alienage of persons, both real and counterfeit;

      J.     Airline/airfare tickets and tickets for other modes of transportation
             (such as buses and trains) relating to the travel of illegal aliens;

       k.    Cellular telephones and cellular telephone records that may be used by
             alien smugglers to facilitate alien smuggling operations, including but
             not limited to stored information, text messages and voice messages
             relating to arrangements of travel and payment, names and telephone
             numbers of co-conspirators and illegal aliens;

      I.     Computers and electronic storage devices that may also be used by
             alien smugglers to facilitate alien smuggling operations, including but
             not limited to stored information, documents, emails, pictures, videos,
             and records relating to arrangements of travel and payment, names
             and telephone numbers of co-conspirators and illegal aliens;

      m.     Two-way radios and two-way radio records that may be used by alien
             smugglers to communicate in areas with sparse cellular telephone
             coverage, AND

      n.    Weapons, firearms and ammunition.

As used throughout this list of items to be seized, the terms "items," "documents"
and "records" include all of the foregoing items of evidence in whatever form and
by whatever means they may have been created or stored, including any electrical,
electronic, or magnetic form (such as any information on an electronic or magnetic
storage device, including floppy diskettes, hard disks, ZIP disks, CD-ROMs,
optical backup tapes, printer buffers, smart cards, memory calculators, pagers,
personal digital assistants, as well as printouts or readouts from any magnetic
storage device); any handmade form (such as writing, drawing, painting); any
mechanical form (such as printing or typing); and any photographic form (such as
microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures,
photocopies).
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2.    Authorization is sought to search for and seize evidence of the crimes
described above in paragraph 1. This authorization includes the search of physical
documents and includes the search of disks, memory cards, deleted data, remnant
data, slack space, and temporary or permanent files contained on or in the
computer, cellular telephone or other electronic devices seized.

The seizure and search of any seized electronic devices will be conducted in
accordance with the "Procedures For Electronically Stored Information" provided
in the affidavit submitted in support of this warrant. The evidence to be seized
from the electronic media, including cellular telephones, will be electronic records,
communications, and data such as emails, text messages, photographs, audio files,
videos, and location data, including but not limited to the following:

      a.     All computer systems, software, peripherals and data storage devices.

      b.     All documents, including all temporary and permanent electronic files
             and records, relating to any and all of the items described in paragraph
             1 above.

      c.   · User-attribution data to include data reflecting who used or controlled
             the computer or electronic storage device at or around the time that
             data reflecting criminal. activity within the scope of this warrant was
             created, accessed, deleted, modified, copied, downloaded, uploaded or
             printed. User-attribution data includes registry information, computer
             logs, user profiles and passwords, web-browsing history, cookies,
             electronic mail stored on the computer or device, electronic address
             books, calendars, instant . messaging logs, electronically-stored
             photographs and video, file structure and user-created documents,
             including metadata.
